     Case 1:23-cv-03026-TOR     ECF No. 51   filed 03/17/23   PageID.1217 Page 1 of 37



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16
                       UNITED STATES DISTRICT COURT
17                FOR THE EASTERN DISTRICT OF WASHINGTON
18

19   STATE OF WASHINGTON, et al.,             No. 1:23-cv-03026
20
                              Plaintiffs,     DEFENDANTS’ RESPONSE IN
21                                            OPPOSITION TO PLAINTIFF
           v.                                 STATES’ MOTION FOR
22
                                              PRELIMINARY INJUNCTION
23   U.S. FOOD AND DRUG
     ADMINISTRATION, et al.,
24

25                            Defendants.
26

27
     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION
     Case 1:23-cv-03026-TOR    ECF No. 51   filed 03/17/23   PageID.1218 Page 2 of 37



 1                             TABLE OF CONTENTS
 2 INTRODUCTION………………………………………………………………………………….1

 3
     BACKGROUND……………………………………………………………………………….….4
 4
       I. Statutory and Regulatory Background……………………………………….…….…..4
 5
       II. Factual and Procedural Background………………………………….………………..6
 6

 7 STANDARD OF REVIEW….……………………………………………………………………..11

 8 ARGUMENT……………………………………………………………………………………12

 9     I. Plaintiffs’ Claims Are Unlikely To Succeed On The Merits…………………………12
10
          A. Plaintiffs Fail To Administratively Exhaust Their Claims……………………….12
11
          B. Plaintiffs Lack Standing………………………………………………………….17
12
          C. FDA’s Actions Were Lawful and Reasonable……………….…………………..22
13
       II. Plaintiffs Fail To Show Irreparable Harm...…….…………………………………....27
14

15     III. The Equities And Public Interest Weigh Against An Injunction……….……………29

16     IV. Plaintiffs’ Requested Relief Exceeds Any Permissible Scope……….………………31
17 CONCLUSION………………………………………………………………….………………34

18

19

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     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION
     Case 1:23-cv-03026-TOR        ECF No. 51    filed 03/17/23   PageID.1219 Page 3 of 37



 1                                       INTRODUCTION
 2
             More than 22 years ago, the U.S. Food and Drug Administration (FDA)
 3

 4 approved mifepristone as safe and effective for termination of early pregnancy

 5 subject to certain restrictions on distribution.1 While FDA has approved

 6
     modifications to that set of restrictions (known since 2007 as a Risk Evaluation and
 7

 8 Mitigation Strategy (REMS)) on several occasions, the restrictions have always

 9 required that patients sign a Patient Agreement Form and that health-care providers

10
     become certified and agree, among other things, that they have the ability to
11

12 accurately date pregnancies, diagnose ectopic pregnancies, and provide or arrange

13 for surgical intervention if necessary. And until January 3, 2023, the REMS

14
     required mifepristone to be dispensed in clinics, medical offices, and hospitals, by
15

16 or under the supervision of a certified provider (the in-person dispensing

17 requirement). Prior to that time, the REMS did not permit pharmacies to dispense

18
     the drug.
19

20

21       1
             This brief uses “mifepristone” as shorthand to refer to drug products that are
22

23 approved for medical termination of early pregnancy. FDA has separately

24 approved another manufacturer’s drug, Korlym, which has mifepristone as its

25
     active ingredient and is approved for the treatment of Cushing’s syndrome. This
26

27 litigation does not affect Korlym.

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 1
     Case 1:23-cv-03026-TOR       ECF No. 51    filed 03/17/23   PageID.1220 Page 4 of 37



 1         During this more-than-two-decade period (spanning from September 2000 to
 2
     January 2023), Plaintiffs did not object to any of these requirements by filing a
 3

 4 citizen petition (see 21 C.F.R. §§ 10.25, 10.30, 10.45) or by seeking judicial relief.

 5 Then, on January 3, 2023, FDA approved supplemental applications that modified

 6
     the REMS to remove the in-person dispensing requirement and permit certified
 7

 8 pharmacies to dispense the drug. Plaintiffs now rely on FDA’s January 2023

 9 REMS modification—which reduced the restrictions on the distribution of

10
     mifepristone—as a springboard to ask this Court to preliminarily enjoin FDA from
11

12 applying restrictions that it first imposed when mifepristone was approved in 2000.

13 Plaintiffs also ask this Court to preliminarily enjoin FDA “from taking any action

14
     to remove mifepristone from the market or cause the drug to become less
15

16 available,” despite bringing no claim supporting that relief.

17         The Court should deny Plaintiffs’ Motion for Preliminary Injunction.
18
     Plaintiffs are unlikely to succeed on the merits. First, they failed to
19

20 administratively exhaust their claims by filing a citizen petition with the agency (as

21
     agency regulations require), so as to give the agency an opportunity to apply its
22
     expertise in the first instance. Had Plaintiffs done so, FDA would have carefully
23

24 evaluated their claims that the REMS is unnecessary to assure safe use of

25
     mifepristone and unduly impedes access to the drug. These matters lie at the heart
26
     of the agency’s core statutory mandate, and FDA is entitled to evaluate these issues
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 2
     Case 1:23-cv-03026-TOR        ECF No. 51   filed 03/17/23   PageID.1221 Page 5 of 37



 1 in the first instance. Second, Plaintiffs lack standing to challenge an agency action

 2
     the sole effect of which was to make the REMS less restrictive and permit
 3

 4 dispensing of the drug by certified pharmacies. Third, on the merits, Plaintiffs

 5 disregard FDA’s reasoned explanation for its 2023 REMS modification and fail to

 6
     show that FDA acted unreasonably or contrary to law.
 7

 8            Nor have Plaintiffs met their burden on any of the other preliminary
 9 injunction factors. They cannot credibly claim to be irreparably harmed by FDA’s

10
     decision to retain two 22-year-old requirements, remove the in-person dispensing
11

12 requirement, and permit certified pharmacies to dispense mifepristone. Tellingly,

13 for over two decades, Plaintiffs did not challenge requirements that, on net, were

14
     more restrictive than the modified REMS FDA approved on January 3, 2023. At
15

16 the very least, their delay shows that any harm is not so significant as to justify a

17 preliminary injunction that would upset the status quo and enjoin FDA from

18
     “enforcing or applying” (Mot. 34) requirements that in its expert judgment are
19

20 necessary to assure the drug’s safe use. Finally, even if Plaintiffs were entitled to

21
     some relief (they are not), the preliminary injunction that they request is not
22
     tailored to their claims, violates the well-established principle that the proper
23

24 remedy in an Administrative Procedure Act (APA) case is limited to the

25
     challenged agency action, and is inconsistent with Federal Rule of Civil Procedure
26
     65(d).
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 3
     Case 1:23-cv-03026-TOR      ECF No. 51   filed 03/17/23   PageID.1222 Page 6 of 37



 1                                      BACKGROUND
 2
        I.      Statutory and Regulatory Background
 3

 4           The Federal Food, Drug, and Cosmetic Act (FDCA) generally prohibits the

 5 interstate distribution of new drugs that have not received FDA approval. 21

 6
     U.S.C. § 355(a). In deciding whether to approve a new drug, FDA evaluates
 7

 8 whether a new drug application contains scientific evidence demonstrating that the

 9 drug is safe and effective for its intended uses. Id. § 355(d); see also 21 C.F.R.

10
     §§ 314.50, 314.105(c). Similarly, when a sponsor submits a supplemental new
11

12 drug application proposing changes to the conditions of approval for a drug (such

13 as changes to a drug’s labeling or FDA-imposed restrictions), FDA reviews the

14
     scientific evidence submitted in support of the changes. See 21 C.F.R. § 314.70.
15

16           Since 1992, FDA’s regulations (the Subpart H regulations) have authorized
17 FDA to require conditions “needed to assure safe use” of certain new drugs. Final

18
     Rule, 57 Fed. Reg. 58,942, 58,958 (Dec. 11, 1992) (codified at 21 C.F.R.
19

20 § 314.520). In the Food and Drug Administration Amendments Act of 2007

21
     (FDAAA), Congress codified and expanded the Subpart H regulations by giving
22
     FDA authority to require a REMS when it determines that such restrictions are
23

24 necessary to ensure that the benefits of a drug outweigh the risks. See Pub. L. No.

25
     110-85, tit. IX, § 901 (codified at, inter alia, 21 U.S.C. § 355-1). FDA may require
26
     that a REMS include “elements to assure safe use” if necessary to mitigate a
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 4
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1223 Page 7 of 37



 1 serious health risk and if certain statutory criteria relating to ensuring safety and

 2
     minimizing the burden of restrictions are satisfied. See 21 U.S.C. § 355-1(f)(1)-(2).
 3

 4         FDAAA expressly addressed how to incorporate drugs with existing Subpart

 5 H restrictions into the new REMS framework. See Pub. L. No. 110-85, tit. IX,

 6
     § 909 (21 U.S.C. § 331 note). Specifically, Congress “deemed” such drugs to have
 7

 8 a REMS in effect, with the Subpart H restrictions serving as “elements to assure

 9 safe use.” Id. § 909(b). Thereafter, application holders were required to submit

10
     supplemental new drug applications with a proposed REMS, which FDA then
11

12 reviewed. See id.

13         FDAAA also provides standards for modifying an existing REMS. See 21
14
     U.S.C. § 355-1(g)(4). As relevant here, FDA may require an applicant to “submit a
15

16 proposed modification” to the REMS if the agency “determines that 1 or more

17 goals or elements should be added, modified, or removed” from the approved

18
     REMS to “ensure the benefits of the drug outweigh the risks of the drug” or
19

20 “minimize the burden on the health care delivery system of complying with the

21
     strategy.” Id. § 355-1(g)(4)(B); see also id. § 355-1(f)(5)(B)-(C). If FDA requires a
22
     modification to a REMS, the applicant must propose that modification within 120
23

24 days. Id. § 355-1(g)(4)(B).

25

26

27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 5
     Case 1:23-cv-03026-TOR       ECF No. 51    filed 03/17/23   PageID.1224 Page 8 of 37



 1      II.      Factual and Procedural Background
 2
              In 2000, FDA approved the marketing of mifepristone (under the brand
 3

 4 name Mifeprex) for medical termination of early intrauterine pregnancy when used

 5 in a regimen with an already-approved drug, misoprostol. At the same time, to

 6
     assure its safe use, FDA placed certain Subpart H “restrictions to assure safe use”
 7

 8 on the distribution and use of the drug product, including requirements that (1)

 9 patients sign a Patient Agreement Form, (2) healthcare providers certify (among

10
     other things) that they have the ability to accurately date pregnancies, diagnose
11

12 ectopic pregnancies, and either perform surgical intervention or arrange for others

13 to perform it if necessary, and (3) the drug be dispensed in person at a certified

14
     provider’s office. See Compl. Ex. D, at 4.
15

16            Because these restrictions were in place on the effective date of FDAAA,
17 mifepristone was “deemed to have in effect an approved [REMS]” that continued

18
     these “elements to assure safe use.” Pub. L. No. 110-85, § 909(b)(1); see also 73
19

20 Fed. Reg. 16,313 (Mar. 27, 2008). In 2011, FDA approved the post-FDAAA

21
     mifepristone REMS after determining that it remained “necessary … to ensure the
22
     benefits of [mifepristone] outweigh the risks of serious complications.” Katzen
23

24 Decl. Ex. A. After FDA approved a generic version of the drug in 2019, it

25
     approved a single, shared system REMS for both Mifeprex and the generic version,
26
     known as the Mifepristone REMS Program. Katzen Decl. Ex. B.
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 6
     Case 1:23-cv-03026-TOR      ECF No. 51   filed 03/17/23   PageID.1225 Page 9 of 37



 1           FDA has since reviewed and modified the Mifepristone REMS Program.2
 2
     On May 7, 2021, FDA announced that it would review elements of the
 3

 4 Mifepristone REMS Program to determine whether those elements should be

 5 modified. Katzen Decl. Ex. C (REMS Modification Rationale Review) at 8. FDA’s

 6
     review encompassed “multiple different sources of information,” including
 7

 8 “published literature,” “safety information,” adverse event reports, a “REMS

 9 assessment report” submitted by the applicants, and “information provided by

10
     advocacy groups, individuals, and the [a]pplica[tion holders].” Id. at 10. The
11

12 agency’s literature review covered material published between March 29, 2016

13 (the date of the last REMS modification) and July 26, 2021, and included

14
     publications found on PubMed and Embase or provided by “advocacy groups,
15

16 individuals, plaintiffs in [Chelius v. Becerra, 1:17-493-JAO-RT (D. Haw.)], and

17 the [a]pplicat[ion holders],” as well as “healthcare providers and researchers.” Id.

18
     at 10-11.
19

20           On December 16, 2021, FDA announced its conclusion that “certain
21
     elements of the Mifepristone REMS Program remain necessary to assure the safe
22
     use of mifepristone” and that “the Mifepristone REMS Program continues to be
23

24

25       2
             https://perma.cc/7BQC-AJP9 (see Approval Date(s) and History, Letters,
26

27 Labels, Reviews for NDA 020687).

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 7
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1226 Page 10 of 37



 1 necessary to ensure the benefits outweigh the risk.” Katzen Decl. Ex. D at 6.

 2
     Specifically, FDA found that prescriber certification and the Patient Agreement
 3

 4 Form continue to be necessary components of the REMS. Id. at 22. At the same

 5 time, FDA found that the REMS “must be modified to remove” the in-person

 6
     dispensing requirement, which would “allow, for example, dispensing of
 7

 8 mifepristone by mail via certified prescribers or pharmacies.” Id. at 35. Thus, FDA

 9 concluded based on its review that “mifepristone will remain safe and effective if

10
     the in-person dispensing requirement is removed, provided all the other
11

12 requirements of the REMS are met and pharmacy certification is added.” Id.

13         FDA explained its conclusions in a review memorandum. Katzen Decl. Ex.
14
     C. First, FDA explained its rationale for retaining the prescriber certification
15

16 requirement, which allows mifepristone to be prescribed only by providers who are

17 certified under the REMS and agree, among other things, that they can accurately

18
     date pregnancies, diagnose ectopic pregnancies, and perform or arrange for
19

20 surgical intervention for patients who experience complications. Id. at 12-14. FDA

21
     explained that the prescriber certification requirement protected against the risk
22
     that providers would not detect and appropriately manage complications, such as
23

24 missed ectopic pregnancy and heavy bleeding from incomplete abortion. Id.

25
     Because FDA’s review of the relevant literature “did not identify any studies
26
     comparing providers who met” the qualifications required by the prescriber
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 8
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1227 Page 11 of 37



 1 certification “with providers who did not,” there was “no evidence to contradict

 2
     [FDA’s] previous finding that” the requirement is “necessary to mitigate the
 3

 4 serious risks associated with the use of mifepristone in a regimen with

 5 misoprostol.” Id. Thus, the agency concluded that prescriber certification

 6
     “continues to be a necessary component of the REMS to ensure the benefits of
 7

 8 mifepristone for medical abortion outweigh the risks,” and that “[t]he burden of

 9 prescriber certification has been minimized to the extent possible” because each

10
     provider need only provide one certification to each of the two drug application
11

12 holders for mifepristone. Id.

13         Second, FDA explained that the Patient Agreement Form “ensures that
14
     patients are informed of the risks of serious complications associated with
15

16 mifepristone,” “serves as an important counseling component,” and “document[s]

17 that the safe use conditions of the Mifepristone REMS Program have been

18
     satisfied.” Id. at 14-15. Although the agency considered removing this requirement
19

20 in 2016, it ultimately decided to retain this requirement. Id. at 16. In 2021, FDA

21
     concluded that “literature that focused on the informed consent process” “d[id] not
22
     provide evidence that would support removing” the Patient Agreement Form
23

24 requirement. Id. at 16-17. Among other things, the agency found that the Patient

25
     Agreement Form “is an important part of standardizing the medication information
26
     on the use of mifepristone that prescribers communicate to their patients,” “does
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 9
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1228 Page 12 of 37



 1 not impose an unreasonable burden on providers or patients,” and thus “remains

 2
     necessary to assure the safe use of Mifepristone.” Id. at 18.
 3

 4         Third, based on an extensive review of assessment reports submitted by the

 5 application holders, adverse event data, and the literature, FDA concluded that the

 6
     in-person dispensing requirement was no longer necessary because, among other
 7

 8 things, “there does not appear to be a difference in adverse events between periods

 9 during the COVID-19 [public health emergency] when the in-person dispensing

10
     requirement was being enforced and periods when the in-person dispensing
11

12 requirement was not being enforced.” Id. at 38. The agency therefore concluded

13 that “mifepristone will remain safe and effective for medical abortion if the in-

14
     person dispensing requirement is removed, provided all the other requirements of
15

16 the REMS are met, and pharmacy certification is added.” Id. at 39.

17         FDA expressly tied the addition of the pharmacy certification requirement to
18
     the removal of the in-person dispensing requirement. See id. at 40 (“Given this
19

20 modification to the dispensing requirements in the REMS, it is necessary to add a

21
     requirement for certification of pharmacies ….”). Adding this requirement would
22
     “incorporate[] pharmacies into the REMS, ensur[ing] that [they] are aware of and
23

24 agree to follow applicable REMS requirements, and … that mifepristone is only

25
     dispensed pursuant to prescriptions that are written by certified prescribers.” Id.
26
     “Without pharmacy certification, a pharmacy might dispense product that was not
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 10
     Case 1:23-cv-03026-TOR        ECF No. 51     filed 03/17/23   PageID.1229 Page 13 of 37



 1 prescribed by a certified prescriber.” Id. Consequently, to “ensure the benefits of

 2
     mifepristone for medical abortion outweigh the risks while minimizing the burden
 3

 4 imposed by the REMS on healthcare providers and patients,” FDA approved “the

 5 removal of the in-person dispensing requirement” and added the “requirement for

 6
     pharmacy certification.” Id. at 41.
 7

 8          Accordingly, FDA directed the drugs’ application holders to submit
 9 supplemental applications proposing conforming modifications to the REMS.

10
     Katzen Decl. Exs. E & F. The application holders submitted their supplemental
11

12 applications in 2022, and FDA approved them on January 3, 2023, confirming its

13 December 16, 2021, determination that mifepristone will remain safe and effective

14
     if the in-person dispensing requirement is removed, provided all the other REMS
15

16 requirements are met and pharmacy certification is added. Katzen Decl. Exs. G at

17 9-15 & J.

18
                                      STANDARD OF REVIEW
19

20          Preliminary injunctive relief is an “extraordinary and drastic” remedy that
21
     “may only be awarded upon a clear showing that the plaintiff is entitled to such
22
     relief.” Winter v. NRDC, Inc., 555 U.S. 7, 20-23 (2008); Munaf v. Geren, 553 U.S.
23

24 674, 689-90 (2008). “A plaintiff seeking a preliminary injunction must establish

25
     that [it] is [1] likely to succeed on the merits, [2] that [it] is likely to suffer
26
     irreparable harm in the absence of preliminary relief, [3] that the balance of
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 11
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1230 Page 14 of 37



 1 equities tips in [its] favor, and [4] that an injunction is in the public interest.”

 2
     Recycle for Change v. City of Oakland, 856 F.3d 666, 669 (9th Cir. 2017) (internal
 3

 4 quotation marks omitted; alterations in original). The third and fourth factors

 5 merge when the federal government is the non-movant. Drakes Bay Oyster Co. v.

 6
     Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418,
 7

 8 435 (2009)). A preliminary injunction that “would alter, rather than preserve, the

 9 status quo” is “disfavored unless there is a very strong showing in favor of the

10
     moving party.” Miracle v. Hobbs, 808 F. App’x 470, 473 (9th Cir. 2020).
11

12                                        ARGUMENT
13      I.      Plaintiffs’ Claims Are Unlikely To Succeed On The Merits
14
             A. Plaintiffs Failed To Administratively Exhaust Their Claims
15

16           Plaintiffs challenge FDA’s approval of supplemental applications proposing
17 modifications to the Mifepristone REMS Program. That challenge is unlikely to

18
     succeed because Plaintiffs failed to exhaust their administrative remedies. As FDA
19

20 has repeatedly demonstrated in approving modifications to the REMS over the past

21
     22 years, the agency is committed to carefully evaluating new evidence and
22
     determining whether particular restrictions remain necessary to assure safe use of
23

24 mifepristone. There is no reason to think the agency would take a different

25
     approach to Plaintiffs’ evidence if Plaintiffs were to submit it to the agency.
26

27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 12
     Case 1:23-cv-03026-TOR      ECF No. 51     filed 03/17/23   PageID.1231 Page 15 of 37



 1         The APA requires a party to exhaust any administrative remedy mandated
 2
     by statute or agency rule. See Darby v. Cisneros, 509 U.S. 137, 153 (1993).
 3

 4 FDA regulations set forth a detailed (and mandatory) administrative process for

 5 challenging agency action. As relevant here, “[a] request that [FDA] take or refrain

 6
     from taking any form of administrative action must first be the subject of a final
 7

 8 administrative decision based on [a citizen petition.]” 21 C.F.R. § 10.45(b); id.

 9 §§ 10.25(a), 10.30; see also id. § 10.1 (defining “administrative action” as “every

10
     act, including the refusal or failure to act, involved in the administration of any law
11

12 by the Commissioner”). Moreover, when challenging an agency action, a party

13 “who wishes to rely upon information or views not included in the administrative

14
     record shall submit them to the Commissioner with a new petition to modify the
15

16 action under § 10.25(a).” Id. § 10.45(f).

17         Exhaustion requirements “avoid premature claims and [] ensure that the
18
     agency possessed of the most expertise in an area be given first shot at resolving a
19

20 claimant’s difficulties.” Idaho Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957,

21
     965 (9th Cir. 2002). Congress empowered FDA to weigh the scientific evidence
22
     and determine whether a drug’s distribution restrictions are necessary to assure
23

24 safe use. As the Ninth Circuit has explained, requiring a plaintiff challenging FDA

25
     approval of a drug application to first file a citizen petition is necessary to
26
     “prevent[] premature interference with agency processes so that the agency may
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 13
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1232 Page 16 of 37



 1 function efficiently and so that it many have an opportunity to correct is own

 2
     errors, to afford the parties and courts the benefit of its experience and expertise,
 3

 4 and to compile a record which is adequate for judicial review.” Center for Food

 5 Safety v. Hamburg, 696 F. App’x 302, 303 (9th Cir. 2017).

 6
           Plaintiffs’ claims turn on issues within the agency’s scientific expertise.
 7

 8 They involve technical and factual assertions about, for example, safety

 9 comparisons of mifepristone to other drugs and alleged unique burdens of REMS

10
     requirements on States—including burdens that Plaintiffs allege have arisen only
11

12 after FDA’s determination on December 16, 2021, that the REMS must be

13 modified. See, e.g., Am. Compl. ¶¶ 3, 25, 147, 176, 178-88, 212, 219; Mot. 1, 6,

14
     16, 23. Their claims also rely on studies that were not before the agency at the time
15

16 of that determination. See, e.g., Am. Compl. ¶¶ 141 n.62, 143 n.66, 149 n.79, 150

17 n.80; Godfrey Decl. ¶ 22 n.21; Janiak Decl. ¶ 15 n.7. Requiring exhaustion will

18
     ensure that these “technical and policy questions” will be “addressed in the first
19

20 instance by the agency with regulatory authority over the relevant industry rather

21
     than by the judicial branch.” See Astiana v. Hain Celestial Grp., Inc., 783 F.3d
22
     753, 760 (9th Cir. 2015). This will “afford the parties and courts the benefit of
23

24 [FDA’s] experience and expertise, and [allow it] to compile a record which is

25
     adequate for judicial review.” Center for Food Safety, 696 F. App’x at 303.
26

27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 14
     Case 1:23-cv-03026-TOR      ECF No. 51     filed 03/17/23   PageID.1233 Page 17 of 37



 1         In similar cases, courts (including this one) have required a party
 2
     challenging FDA’s approval of a drug application or other marketing authorization
 3

 4 to first file a citizen petition presenting the challenge to the agency. See, e.g.,

 5 Jensen v. Biden, No. 4:21-cv-5119, 2021 WL 10280395 (E.D. Wash. Nov. 19,

 6
     2021) (Rice, J.) (holding that plaintiff who failed to file a citizen petition did not
 7

 8 exhaust administrative remedies in challenge to FDA emergency use

 9 authorizations); Ass’n of Am. Physician & Surgeons, Inc. v. FDA (AAPS), 539 F.

10
     Supp. 2d 4, 21-24 (D.D.C. 2008) (holding that physicians and pharmacists who
11

12 failed to file a citizen petition did not exhaust administrative remedies in challenge

13 to FDA approval of a supplemental new drug application), aff’d, 358 F. App’x 179

14
     (D.C. Cir. 2009); see also Doe #1-#14 v. Austin, 572 F. Supp. 3d 1224, 1234 (N.D.
15

16 Fla. 2021) (refusing to consider extra-record material in challenge to FDA

17 approval of a vaccine where “plaintiffs have not pursued an available

18
     administrative route … to force the FDA to consider the materials they submit
19

20 here”) (citing 21 C.F.R. § 10.45(f)).

21
           Likewise, Plaintiffs here seek judicial review of FDA’s approval of
22
     supplemental applications without first raising their challenge with the agency.
23

24 Indeed, Plaintiffs never filed a citizen petition challenging any FDA action

25
     regarding any restriction on mifepristone in the 22 years that the drug has been
26
     marketed. While Plaintiffs objected to the REMS in a March 2020 letter
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 15
     Case 1:23-cv-03026-TOR       ECF No. 51    filed 03/17/23   PageID.1234 Page 18 of 37



 1 referencing a public docket regarding unrelated FDA guidance documents, see

 2
     FDA-2020-D-1106-0061 at regulations.gov, that letter did not include all of their
 3

 4 present contentions or reference the studies they now rely upon. In any event,

 5 Plaintiffs have never sought relief through a citizen petition, the agency’s

 6
     prescribed administrative remedy. See 21 C.F.R. § 10.30 (setting forth detailed
 7

 8 requirements for citizen petitions); Agua Caliente Tribe of Cuperño Indians of

 9 Pala Reservation v. Sweeney, 932 F.3d 1207, 1219 (9th Cir. 2019) (holding that

10
     letter did not exhaust administrative remedies where statute prescribed a different
11

12 process); Reddic v. Evans, 2011 WL 2181311, at *3 (N.D. Cal. Jun. 3, 2011)

13 (same).3

14
             Finally, Plaintiffs cannot satisfy the exhaustion requirements by pointing to
15

16 the citizen petition submitted by the American College of Obstetricians and

17

18
         3
19
             Nor is there anything in FDA’s response to that letter (see Katzen Decl. Ex.

20 J) that suggests submitting a citizen petition would have been futile. See Biotics

21
     Research Corp. v. Heckler, 710 F.2d 1375, 1378 (9th Cir. 1983) (finding “nothing
22

23 in the record to indicate that a citizen’s petition to the Commissioner” challenging

24 agency conclusions set forth in a letter “would have been ineffective or futile”);

25
     Agua Caliente, 932 F.3d at 1219 (finding that agency’s response to a letter “does
26

27 not suggest futility”).

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 16
     Case 1:23-cv-03026-TOR      ECF No. 51     filed 03/17/23   PageID.1235 Page 19 of 37



 1 Gynecologists (ACOG) in 2022. See Am. Compl. ¶¶ 139-43; Mot. 21, 25. ACOG

 2
     and the other petitioners are not plaintiffs in this case. Moreover, that petition
 3

 4 requested different relief. ACOG requested that FDA ask the holder of the new

 5 drug application for Mifeprex to submit an application to add miscarriage

 6
     management as a new indication for mifepristone. FDA denied that request
 7

 8 because it is up to the new drug application holder to decide whether to seek

 9 approval for a new indication. Compl. Ex. S. That conclusion led FDA to reject the

10
     petition’s related request to eliminate or modify the REMS for mifepristone “so
11

12 that it is not unduly burdensome for a miscarriage management indication.” Id. The

13 related request, FDA explained, was “premature” because miscarriage

14
     management “is not a currently approved indication for mifepristone.” Id. ACOG’s
15

16 citizen petition did not ask FDA to consider the new reasons now offered by

17 Plaintiffs for eliminating the REMS.

18
           B. Plaintiffs Lack Standing
19

20         Plaintiffs also lack standing. To meet the “irreducible constitutional
21
     minimum of standing,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992),
22
     Plaintiffs “must show (i) that [they] suffered an injury in fact that is concrete,
23

24 particularized, and actual or imminent; (ii) that the injury was likely caused by the

25
     defendant[s]; and (iii) that the injury would likely be redressed by judicial relief,”
26

27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 17
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1236 Page 20 of 37



 1 TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). Plaintiffs offer three

 2
     theories of standing, but each of them fails.
 3

 4         First, Plaintiffs lack standing to sue the federal government as parens

 5 patriae on behalf of their residents. See Mot. 15. In general, a “State does not have

 6
     standing as parens patriae to bring an action against the Federal Government.”
 7

 8 Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16

 9 (1982) (citing Massachusetts v. Mellon, 262 U.S. 447, 485–486 (1923)). Plaintiffs

10
     suggest that they have a “quasi-sovereign interest in the health and well-being” of
11

12 their residents, but the federal government is “the ultimate parens patriae of every

13 American citizen.” S. Carolina v. Katzenbach, 383 U.S. 301, 324 (1966); see also

14
     Gov’t of Manitoba v. Bernhardt, 923 F.3d 173, 180-83 (D.C. Cir. 2019) (applying
15

16 this rule to APA claims); cf. Challenge v. Moniz, 218 F. Supp. 3d 1171, 1177-78

17 (E.D. Wash. 2016) (Rice, J.) (holding that Congress had “overridden” Mellon’s

18
     limitation in a statute that “explicitly” defines the “person” who may sue “to
19

20 include a state”).

21
           Second, Plaintiffs’ argument that they suffer direct “pecuniary harms,” Mot.
22
     14, fails because they have not established that the challenged agency action—i.e.,
23

24 FDA’s January 3, 2023, approval of the supplemental applications modifying the

25
     Mifepristone REMS Program—caused those harms. Plaintiffs aver that their
26
     Medicaid programs incur greater costs when patients choose surgical abortion over
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 18
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1237 Page 21 of 37



 1 medication abortion, but apart from conclusory assertions, see, e.g., Birch Decl.

 2
     ¶ 10, they offer no support for their assertion that “the [January 2023] REMS
 3

 4 causes” patients to obtain surgical abortions, see Mot. 15 (citing no evidence for

 5 this proposition). For example, they provide no evidence that, by requiring patients

 6
     who wish to take mifepristone to sign a Patient Agreement Form and obtain the
 7

 8 drug from or under the supervision of a certified prescriber or from a certified

 9 pharmacy, the REMS causes a substantial number of patients to obtain surgical

10
     abortion instead. Thus, Plaintiffs’ assertion that the REMS “encourage[s]” patients
11

12 to seek surgical abortion “is purely speculative” and therefore cannot support their

13 standing. See Simon v. E. Kentucky Welfare Rights Org., 426 U.S. 26, 42-43 (1976)

14
     (rejecting as speculative plaintiffs’ unsupported contention that a tax policy would
15

16 necessarily encourage hospitals to deny services to indigent patients).

17          Plaintiffs likewise fail to establish that FDA’s January 2023 action caused
18
     the various “administrative burdens” on pharmacies of which Plaintiffs complain.
19

20 Mot. 14. Many of the specific administrative tasks about which Plaintiffs complain

21
     reflect their independent choice to establish new systems that may facilitate their
22
     pharmacies’ efforts to dispense mifepristone, but they do not reflect burdens
23

24 imposed by the REMS itself. For example, while the REMS requires patients to

25
     sign a Patient Agreement Form before obtaining mifepristone, it does not require
26
     providers to “change[]” and “test” their information technology systems to “ensure
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 19
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1238 Page 22 of 37



 1 that patients who seek telehealth medication abortion can readily sign the Patient

 2
     Agreement Form,” Godfrey Decl. ¶ 35. And while the REMS requires pharmacies
 3

 4 that wish to dispense mifepristone to first satisfy certain conditions, see Compl. Ex.

 5 P (“Pharmacy Agreement Form”), it does not require pharmacies to “develop[] new

 6
     IT systems” to facilitate those efforts, or “creat[e] billing workflows specifically
 7

 8 for insurance carriers that do not cover mifepristone,” DasGupta Decl. ¶ 15.

 9         Third, Plaintiffs’ generalized “interest[] in delivering high-quality patient
10
     care,” Mot. 14, also does not confer standing. This vague theory fails to identify a
11

12 concrete injury to their providers’ interest in practicing medicine. See Spokeo, Inc.

13 v. Robins, 578 U.S. 330, 340-41 (2016) (to be concrete, an injury must be “real, not

14
     abstract” (citation and quotation marks omitted)). To the extent that Plaintiffs base
15

16 this theory on their allegations that the REMS requirements they challenge harm

17 patient care, that theory is speculative for the reasons explained above. See supra

18
     pp. 18-19. This theory of standing also lacks a limiting principle: it would give
19

20 medical providers standing to challenge virtually any FDA action relating to drugs,

21
     since nearly every such action has some effect on the availability of drugs that
22
     providers may prescribe or recommend. Plaintiffs’ vague assertion of an injury to
23

24 their providers’ interest in providing patient care therefore fails.

25
           Finally, Plaintiffs’ theories of standing fail for yet another reason: Plaintiffs
26
     do not meet their burden to show that success on their claims would redress their
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 20
     Case 1:23-cv-03026-TOR        ECF No. 51    filed 03/17/23   PageID.1239 Page 23 of 37



 1 injuries. Plaintiffs stress that they are challenging the specific action FDA took on

 2
     January 3, 2023. See Am. Compl. ¶¶ 258, 262, 265, 269 (identifying the “2023
 3

 4 REMS” as the object of Plaintiffs’ claims); Pls.’ Resp. to Defs.’ Mot. for Extension

 5 (Dkt. 19), 3 (“The REMS at the heart of this dispute did not take effect until

 6
     January 3, 2023” such that Plaintiffs’ claims were “not ripe until that date.”). Yet it
 7
                                                   4
 8 is unclear how enjoining or vacating that action would redress Plaintiffs’ injuries.

 9 After all, FDA’s January 2023 decision eased the approved restrictions on

10
     mifepristone’s distribution and made them less burdensome than they have ever
11
                                                   5
12 been in the 22 years since the drug’s approval.

13

14

15
         4
16           For the reasons explained infra Part IV, Plaintiffs could not be entitled to any
17
     broader relief.
18
         5
19
             Plaintiffs’ claims should also fail for the additional reason that venue is

20 improper. Plaintiffs assert venue is proper in this district based on the residence of

21
     the State of Washington. But a plaintiff entity “resides” only in the district where it
22

23 has its “principal place of business,” 21 U.S.C. § 1391(c)(2), which here is the state

24 capital in the Western District of Washington. Defendants recognize, however, that

25
     the Ninth Circuit has held otherwise. See California v. Azar, 911 F.3d 558, 570
26

27 (9th Cir. 2018).

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 21
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1240 Page 24 of 37



 1         C. FDA’s Actions Were Lawful And Reasonable
 2
           Plaintiffs’ claims are unlikely to succeed even if the Court reaches the
 3

 4 merits. Under the APA, the Court reviews agency action to determine whether it is

 5 arbitrary and capricious or contrary to law. 5 U.S.C. § 706. Applying the

 6
     “forgiving” arbitrary-and-capricious standard, Env’tl Def. Ctr., Inc. v. EPA, 344
 7

 8 F.3d 832, 359 (9th Cir. 2003), the Court must uphold agency action unless “the

 9 agency has relied on factors which Congress has not intended it to consider,

10
     entirely failed to consider an important aspect of the problem, offered an
11

12 explanation for its decision that runs counter to the evidence before the agency, or

13 if the agency’s decision is so implausible that it could not be ascribed to a

14
     difference in view or the product of agency expertise.” Turtle Island Restoration
15

16 Network v. U.S. Dep’t of Commerce, 878 F.3d 725, 733 (9th Cir. 2017). Review is

17 “at its most deferential” with respect to an agency’s scientific determinations

18
     within its area of expertise. Baltimore Gas & Elec., Co. v. Nat. Res. Def. Council,
19

20 Inc., 462 U.S. 87, 103 (1982). In particular, “[FDA’s] judgments as to what is

21
     required to ascertain the safety and efficacy of drugs fall squarely within the ambit
22
     of the FDA’s expertise and merit deference from [courts].” A.L Pharma, Inc. v.
23

24 Shalala, 62 F.3d 1484, 1490 (D.C. Cir. 1995) (quoting Schering Corp. v. FDA, 51

25
     F.3d 390, 399 (3d. Cir. 1995)); see also FDA v. Am. Coll. of Obstetricians &
26
     Gynecologists, 141 S. Ct. 578, 579 (2021) (Roberts, C.J., concurring) (explaining
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 22
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1241 Page 25 of 37



 1 that the “significant deference” owed to FDA’s judgments weighed against

 2
     “compel[ling] the FDA to alter the regimen for medical abortion”).
 3

 4         Under these principles, FDA’s January 2023 decision should be upheld.

 5 When determining whether to modify elements to assure safe use in an approved

 6
     REMS, FDA considers both the need for restrictions to ensure that the benefits of
 7

 8 the drug outweigh the risks and the burdens restrictions impose on patients and the

 9 healthcare system more generally. See 21 U.S.C. § 355-1(g)(4)(B); see also id.

10
     § 355-1(f)(1), (2), (5)(B). Here, in deciding whether and how the Mifepristone
11

12 REMS Program should be modified, FDA asked whether evidence since the

13 agency’s review of the REMS in 2016 established that a particular existing

14
     restriction either was no longer necessary to ensure that the benefits of the drug
15

16 outweigh the risks or was unduly burdensome on patients or the healthcare system.

17 After weighing the evidence before it, the agency concluded that the Patient

18
     Agreement Form and prescriber certification requirements must be retained; that
19

20 the in-person dispensing requirement must be removed; and that a pharmacy

21
     certification requirement must be added to permit certified pharmacies to dispense
22
     mifepristone. The agency’s explanation of these conclusions exemplified reasoned
23

24 decisionmaking. See supra pp. 8-11. The APA requires no more.

25
           Plaintiffs ignore (indeed, do not even mention) FDA’s reasoned explanation
26
     for its approval of the January 2023 modification to the Mifepristone REMS
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 23
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1242 Page 26 of 37



 1 Program. Instead, they argue that FDA’s approval is “contrary to law” because

 2
     mifepristone is safe and the REMS restrictions are “unrelated” to any medical risk
 3

 4 and unduly burdensome on rural patients. See Mot. 16-19. But Plaintiffs’ argument

 5 misses the point—FDA has found mifepristone to be safe with the REMS

 6
     requirements Plaintiffs seek to have removed. Katzen Decl. Ex. C at 39
 7

 8 (“[M]ifepristone will remain safe and effective for medical abortion if the in-

 9 person dispensing requirement is removed, provided all the other requirements of

10
     the REMS are met, and pharmacy certification is added ….”) (emphasis added). In
11

12 2023, FDA considered the burdens of the REMS restrictions and explained that

13 they could be reduced but that certain restrictions nonetheless remained necessary

14
     to assure the safe use of the product. Were Plaintiffs to submit new evidence in a
15

16 citizen petition to FDA showing that the REMS is unnecessary to assure safe use

17 of mifepristone and unduly burdens access to the drug (which they have not done,

18
     see supra pp. 12-17), FDA would carefully weigh that evidence, just as it has
19

20 always done when evaluating the necessity of particular restrictions.

21
           Contrary to Plaintiffs’ suggestion (Mot. 21), the lack of a REMS for Korlym
22
     (a different drug with mifepristone as its active ingredient, see supra n.1) does not
23

24 support a different conclusion. In deciding whether to require a REMS for a

25
     particular drug, FDA makes a case-by-case determination that involves weighing
26
     the drug’s risks and benefits in light of its particular conditions of use and other
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 24
     Case 1:23-cv-03026-TOR      ECF No. 51     filed 03/17/23   PageID.1243 Page 27 of 37



 1 factors. See 21 U.S.C. § 355-1(a)(1). Thus, the fact that there is no REMS for

 2
     Korlym does not compel FDA to reach the same result for Mifeprex and its
 3

 4 generic, which have conditions of use very different from Korlym’s. Indeed, FDA

 5 conducted this case-by-case inquiry for Korlym, explicitly considering the REMS

 6
     for Mifeprex, and explained why Korlym does not require a REMS to assure safe
 7

 8 use of the drug to treat Cushing’s syndrome. See Katzen Decl. Ex. H.

 9         Plaintiffs’ remaining arguments simply underscore their failure to exhaust.
10
     They point to a single Canadian study which, according to Plaintiffs, shows that
11

12 mifepristone is safe without restrictions. Mot. 21; Am. Compl. ¶ 143. But that

13 study was conducted in 2022, after FDA had completed its literature review for the

14
     January 2023 REMS modification. Had Plaintiffs submitted a citizen petition
15

16 asking FDA to consider this study, the agency would have done so. See 21 C.F.R.

17 § 10.45(f) (providing that an interested party that wishes to rely on information not

18
     before FDA must first file a citizen petition). Similarly, if Plaintiffs believe they
19

20 can identify burdens that FDA did not consider, they must raise those issues in a

21
     citizen petition to afford FDA an opportunity to consider them in the first instance.
22
           Plaintiffs’ arguments that FDA’s approval of the January 2023 REMS
23

24 modification was arbitrary and capricious, Mot. 19-26, likewise fail. Despite

25
     having joined a recent amicus brief recognizing that “there can be no doubt that the
26
     FDA’s overall conclusions regarding medication abortion’s safety and efficacy are
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 25
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1244 Page 28 of 37



 1 based on substantial evidence,” see Katzen Decl. Ex. I at 2, Plaintiffs emphasize

 2
     that the REMS is opposed by certain private medical organizations. Mot. 20-21.
 3

 4 But the APA requires deference to FDA. See, e.g., Am. Coll. of Obstetricians &

 5 Gynecologists, 141 S. Ct. at 579 (Roberts, C.J., concurring). Here, FDA met its

 6
     burden to provide a reasoned explanation for its conclusion that the requirements
 7

 8 of the REMS are scientifically justified, necessary to ensure the benefits of the

 9 drug outweigh the risks, and not unduly burdensome. Plaintiffs’ arguments to the

10
     contrary either raise issues never put before the agency or rest on disagreement
11
                                             6
12 with how FDA weighed the relevant factors. None of these arguments overcomes

13 FDA’s reasoned decisionmaking.

14

15

16
         6
17           In a footnote, Plaintiffs contend that the January 2023 REMS modification

18 violates the equal protection component of the Fifth Amendment. See Mot. 18-19

19
     n.3. A conclusory argument presented in a footnote cannot provide the basis for a
20

21 preliminary injunction. See First Advantage Background Servs. Corp. v. Priv.

22 Eyes, Inc., 569 F. Supp. 2d 929, 935 (N.D. Cal. 2008). Regardless, because

23
     Plaintiffs do not allege discrimination on the basis of any protected category, their
24

25 claim is subject to rational basis review. See, e.g., Vargas v. Chelan Cnty. Regional

26 Justice Ctr., No. CV-09-39, 2010 WL 685002, at *4 (E.D. Wash. Feb. 22, 2010).

27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 26
     Case 1:23-cv-03026-TOR        ECF No. 51    filed 03/17/23   PageID.1245 Page 29 of 37



 1      II.      Plaintiffs Fail To Show Irreparable Harm
 2
              Plaintiffs also have not met their burden to establish that they will suffer
 3

 4 irreparable harm absent a preliminary injunction. To meet that burden, “[a] plaintiff

 5 must do more than merely allege imminent harm sufficient to establish standing; a

 6
     plaintiff must demonstrate immediate threatened injury as a prerequisite to
 7

 8 preliminary injunctive relief.” Boardman v. Pac. Seafood Grp., 822 F.3d 1011,

 9 1022 (9th Cir. 2016) (quoting Caribbean Marine Servs. Co., Inc. v. Baldrige, 844

10
     F.2d 668, 674 (9th Cir. 1988)). Because Plaintiffs fail to establish standing, they
11

12 likewise cannot meet the higher burden to establish that they would likely face

13 irreparable harm absent the requested relief.

14
              Plaintiffs’ two-decade delay in raising their claims to either FDA or any
15

16 court further weighs against a finding of irreparable harm. Since 2000, restrictions

17 on the distribution of mifepristone have been at least as restrictive as the 2023

18
     REMS modification. As explained above, the Patient Agreement Form and
19

20 prescriber certification have been required that entire time. And until January 2023,

21
     the REMS did not permit any pharmacy to dispense mifepristone, either with or
22
     without a pharmacy certification. Thus, the restrictions allegedly causing Plaintiffs’
23

24

25
     For all the reasons described above, FDA’s decision was rationally related to the
26

27 legitimate governmental interest in ensuring drug safety.

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 27
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1246 Page 30 of 37



 1 injuries date back to 2000, and their delay in seeking relief “implies a lack of

 2
     urgency and irreparable harm.” Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762
 3

 4 F.2d 1374, 1377 (9th Cir. 1985). In short, Plaintiffs have “sle[pt] on [their] rights,”

 5 which “demonstrate[es] that there is not an urgent need for ‘speedy action.’” ADM

 6
     Milling Co v. Columbia Plateau Producers, L.L.C., 2:20-cv-0343, 2020 WL
 7

 8 5802344, at *6 (E.D. Wash. Sept. 28, 2020) (Rice, J.).

 9         Plaintiffs attempt to show irreparable harm from the pharmacy certification
10
     requirement in isolation, divorced from the 2023 REMS modification as a whole.
11

12 But the net effect of the 2023 REMS modification was to reduce the burden

13 associated with accessing mifepristone: by removing the in-person dispensing

14
     requirement and adding a pharmacy certification requirement, FDA permitted the
15

16 dispensing of mifepristone in a manner that was previously prohibited. Plaintiffs

17 cannot show irreparable harm from FDA allowing pharmacies to dispense

18
     mifepristone on the condition that they satisfy the pharmacy certification
19

20 requirement when, prior to January 2023, the REMS did not permit pharmacies to

21
     dispense mifepristone under any circumstances.
22
           Moreover, even considering only the pharmacy certification requirement,
23

24 Plaintiffs still waited nearly two months to file suit after the 2023 REMS

25
     modification was approved. See Jensen, 2021 WL 10280395, at *9 (Rice, J.)
26
     (holding that a delay of “nearly two months” weighed against finding irreparable
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 28
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23   PageID.1247 Page 31 of 37



 1 harm); Wise v. Inslee, No. 2:21-cv-0288, 2021 WL 4951571, at *6 (E.D. Wash.

 2
     Oct. 25, 2021) (Rice, J.) (same). That delay is significant considering that Plaintiffs
 3

 4 have known since December 16, 2021, about the forthcoming modification to the

 5 REMS and have been preparing for it since well before January 2023. See, e.g.,

 6
     Reed Decl. ¶ 3 (“For the past four months, I have been participating in a work
 7

 8 group at UW that is implementing the amended requirements for the FDA’s

 9 mifepristone [REMS].”); Singh Decl. ¶ 3 (“[F]or the past 6 months, I have

10
     participated [in] operationalizing … FDA’s updated [REMS] for mifepristone.”);
11

12 Prager Decl. ¶ 35 (averring that a workgroup to implement the modified REMS

13 “has been meeting for 4 or 5 months”). Given this lead time in which Plaintiffs

14
     could have prepared to challenge the 2023 REMS modification, waiting almost
15

16 two months after approval of that REMS evinces a lack of urgency.

17         In sum, Plaintiffs have not shown that they will face irreparable harm absent
18
     an injunction.
19

20      III.   The Equities And Public Interest Weigh Against An Injunction
21
           Plaintiffs have not shown that they are likely to succeed on the merits or that
22
     they are likely to suffer irreparable harm, so the Court need not address the
23

24 balancing of equities or public interest. Herb Reed Enters., LLC v. Fla. Ent. Mgmt.,

25
     Inc., 736 F.3d 1239, 1251 (9th Cir. 2013). Nevertheless, those factors also weigh
26
     heavily against granting the requested relief.
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 29
     Case 1:23-cv-03026-TOR      ECF No. 51     filed 03/17/23   PageID.1248 Page 32 of 37



 1         As noted, a preliminary injunction that “would alter, rather than preserve, the
 2
     status quo” is “disfavored unless there is a very strong showing in favor of the
 3

 4 moving party.” Miracle, 808 F. App’x at 473. “Where no new harm is imminent,

 5 and where no compelling reason is apparent, the district court [is] not required to

 6
     issue a preliminary injunction against a practice which has continued unchallenged
 7

 8 for several years.” Oakland Tribune, Inc., 762 F.2d at 1377. Considering that the

 9 Patient Agreement Form and prescriber certification requirements have existed for

10
     22 years and the net effect of the 2023 REMS modification was to reduce
11

12 restrictions on mifepristone’s distribution, Plaintiffs have shown “no new harm” or

13 “compelling reason” justifying a preliminary injunction. Supra pp. 27-29.

14
           Plaintiffs’ request is especially unjustified because it would undermine
15

16 Congress’s decision to delegate to FDA the responsibility for making scientific

17 judgments about drug safety. See 21 U.S.C. § 393(b). The public interest is best

18
     served by deferring to FDA’s judgments about what restrictions are necessary to
19

20 ensure drugs are safe. That is particularly true here, where the agency’s decisions

21
     regarding the conditions on the distribution of mifepristone reflect careful,
22
     deliberative decisionmaking informed by years of data. Had Plaintiffs contested
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24 those decisions by filing a citizen petition with FDA, the agency would have

25
     reached a considered expert judgment on Plaintiffs’ claims and created an
26
     administrative record fit for judicial review. Instead, through this lawsuit, Plaintiffs
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     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 30
     Case 1:23-cv-03026-TOR      ECF No. 51    filed 03/17/23    PageID.1249 Page 33 of 37



 1 seek to deprive FDA of that opportunity, asking the Court to declare that

 2
     mifepristone is safe under conditions that FDA has never approved. As Congress
 3

 4 recognized, there is a strong public interest in having an expert scientific agency

 5 make scientific judgments about drug safety, and the requested injunction is an

 6
     impermissible attempt to flout that institutional design.
 7

 8      IV.    Plaintiffs’ Requested Relief Exceeds Any Permissible Scope
 9         Even if it were appropriate to enjoin enforcement or application of the 2023
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     REMS modification (it is not), relief beyond that would not be warranted. This
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12 includes Plaintiffs’ unprecedented request—untethered to any actual claim for

13 relief or specific harm they assert—to “preliminary enjoin[] FDA from … taking

14
     any action to remove mifepristone from the market or otherwise cause the drug to
15

16 become less available.” Mot. 34. That request should be rejected for at least three

17 reasons.

18
           First, Plaintiffs’ proposed remedy fails a fundamental precept of preliminary
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20 injunctive relief: “[a]n injunction must be narrowly tailored to remedy the specific

21
     harm shown.” E. Bay Sanctuary Covenant v. Barr, 934 F. 3d 1026, 1029 (9th Cir.
22
     2019) (internal quotation marks omitted). Under that rule, an injunction is
23

24 overbroad—and therefore impermissible—when it “reaches beyond the scope of

25
     the complaint and enjoins government regulations that were explicitly never
26
     challenged or litigated.” Church of Holy Light of Queen v. Holder, 443 F. App’x
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 31
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1250 Page 34 of 37



 1 302, 303 (9th Cir. 2011); see also Skydive Arizona, Inc. v. Quattrocchi, 673 F.3d

 2
     1105, 1116 (9th Cir. 2012) (“Courts should not enjoin conduct that has not been
 3

 4 found to violate any law.”). Plaintiffs make no effort to connect their request that

 5 the Court enjoin “any action to remove mifepristone from the market or otherwise

 6
     cause the drug to become less available” to any of their claims. Rather, after
 7

 8 devoting the entirety of their Amended Complaint and Motion to attacking the

 9 January 2023 REMS modification, Plaintiffs simply announce that in addition to

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     enjoining enforcement and application of that modification, they want this Court to
11

12 prohibit FDA from doing anything that would make the drug less available.

13         Second, and relatedly, Plaintiffs’ request for relief against hypothetical and
14
     unchallenged future agency action violates basic principles of administrative law.
15

16 The APA allows parties to seek review only of discrete “agency actions.” See

17 Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990) (“Under the terms of the

18
     APA, respondent must direct its attack against some particular ‘agency action’ that
19

20 causes it harm.”); Arrow Reliance, Inc. v. Califf, No. 2:22-cv-1057, 2022 WL

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     18027595, at *2 (W.D. Wash. Dec. 30, 2022) (holding that the APA permits
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     challenges to “circumscribed, discrete agency actions”). And when a party prevails
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24 on its APA challenge, the proper remedy—even in the context of a preliminary

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     injunction—is “limited only to vacating the unlawful action, not precluding future
26
     agency decisionmaking.” Hill Dermaceuticals, Inc. v. FDA, 709 F.3d 44, 46 n.1
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 32
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1251 Page 35 of 37



 1 (D.C. Cir. 2013); see also, e.g., Norton v. S. Utah Wilderness Alliance, 542 U.S.

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     55, 65 (2004) (“The [APA’s] limitation to required agency action rules out judicial
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 4 direction of even discrete agency action that is not demanded by law.”); Lujan, 497

 5 U.S. at 893 (“[T]he flaws in the entire ‘program’—consisting principally of the

 6
     many individual actions referenced in the complaint, and presumably actions yet to
 7

 8 be taken as well—cannot be laid before the courts for wholesale correction under

 9 the APA, simply because one of them that is ripe for review adversely affects one

10
     of respondent’s members.”). Here, even if Plaintiffs had valid challenges to the
11

12 2023 REMS modification (or to the imposition of the REMS generally), that would

13 hardly justify injunctive relief against hypothetical future actions pertaining to

14
     mifepristone’s general availability on the market.
15

16         Third, Plaintiffs’ broad, amorphous remedy also would violate Rule 65(d),
17 which requires that every injunction “state its terms specifically” and “describe in

18
     reasonable detail … the act or acts restrained or required.” Fed. R. Civ. P. 65(d);
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20 see, e.g., Del Webb Communities, Inc. v. Partington, 652 F.3d 1145, 1150 (9th Cir.

21
     2011) (holding that an injunction’s “general prohibition against using ‘illegal,
22
     unlicensed and false practices’ is too vague to be enforceable” because “[t]he
23

24 examples of prohibited past conduct do not sufficiently define what additional

25
     future conduct will be covered”). Suppose, for example, FDA learns that a batch of
26
     mifepristone is contaminated. The FDCA authorizes FDA to recommend that the
27

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 33
     Case 1:23-cv-03026-TOR     ECF No. 51    filed 03/17/23   PageID.1252 Page 36 of 37



 1 Department of Justice institute proceedings to seize the violative product. See 21

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     U.S.C. § 334. Would Plaintiffs’ proposed remedy prohibit that seizure action
 3

 4 because it would reduce the availability of mifepristone? There is no limit in

 5 Plaintiffs’ requested relief that would account for that situation, or any other

 6
     exercise of FDA’s statutorily conferred authority to execute the provisions of the
 7

 8 FDCA as they pertain to mifepristone. Such broad relief is not permitted by Rule

 9 65(d).

10
                                        CONCLUSION
11

12          For the foregoing reasons, the Court should deny Plaintiffs’ Motion for
13 Preliminary Injunction.

14
     March 17, 2023                            HILARY K. PERKINS
15                                             Assistant Director
16
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     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 34
     Case 1:23-cv-03026-TOR    ECF No. 51     filed 03/17/23   PageID.1253 Page 37 of 37



 1                              CERTIFICATE OF SERVICE
 2
        I hereby certify that, on March 17, 2023, I electronically filed the foregoing
 3

 4 with the Clerk of the Court using the CM/ECF system, which will send notification

 5 of such filing to all counsel of record.

 6

 7

 8                                                /s/ Noah T. Katzen
                                                  NOAH T. KATZEN
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     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF STATES’
     MOTION FOR PRELIMINARY INJUNCTION – 35
